 PROB 12C                                                                                 Report Date: July 16, 2019
(6/16)

                                       United States District Court                                FILED IN THE
                                                                                               U.S. DISTRICT COURT
                                                                                         EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                           Jul 16, 2019
                                        Eastern District of Washington                        SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Artie Frank Bramley                       Case Number: 0980 2:17CR00065-RMP-1
 Address of Offender:                            Spokane, Washington 99207
 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, U.S. District Judge
 Date of Original Sentence: December 12, 2018
 Original Offense:        Possession with Intent to Distribute 50 Grams of Actual (Pure) Methamphetamine, 21
                          U.S.C. § 841(a)(1)
 Original Sentence:       Prison - 195 days                  Type of Supervision: Supervised Release
                          TSR - 96 months
 Asst. U.S. Attorney:     Caitlin A. Baunsgard               Date Supervision Commenced: December 17, 2018
 Defense Attorney:        John Barto McEntire, IV            Date Supervision Expires: December 16, 2026


                                          PETITIONING THE COURT

To incorporate the violation(s) contained in this petition in future proceedings with the violation(s) previously
reported to the Court on 06/04/2019, 06/07/2019 and 06/24/2019.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            8           Special Condition # 4: You must abstain from the use of illegal controlled substances, and
                        must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                        no more than 6 tests per month, in order to confirm continued abstinence from these
                        substances.

                        Supporting Evidence: Artie Bramley violated the terms of his supervised release by failing
                        to appear for a urinalysis test at Pioneer Counseling Services and Riverside Recovery on or
                        about July 15, 2019.

                        On December 17, 2018, supervision commenced in this matter. On December 20, 2018, the
                        undersigned officer met with Mr. Bramley at Sun Ray Court treatment facility to complete
                        a supervision intake. The conditions were read to Mr. Bramley and he signed a copy of his
                        judgment indicating an acknowledgment and understanding of the conditions imposed by
                        the Court, to include special condition number 4, noted above.
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                       As noted in the petitions filed on June 4 and 7, 2019, Mr. Bramley is alleged to have failed
                       to appear for multiple random urinalysis tests. As a result, he was placed on the phase drug
                       testing system at Pioneer Counseling Services (PCS) effective June 6, 2019. This requires
                       Mr. Bramley to call the drug testing line daily. If his color is called, he is expected to
                       appear at PCS for a urinalysis that same day.

                       On July 15, 2019, Mr. Bramley failed to appear for a urinalysis at PCS. In addition, Mr.
                       Bramley was expected to appear at Riverside Recovery for a urinalysis test that same day.
                       Riverside Recovery advised him that they would excuse him that day if he submits to
                       urinalysis testing with PCS. Mr. Bramley told them that he had already submitted to
                       urinalysis testing at PCS that day; therefore, Riverside Recovery excused him. However,
                       Mr. Bramley was being dishonest.

The U.S. Probation Office respectfully recommends the Court to incorporate the violation(s) contained in this petition
in future proceedings with the violation(s) previously reported to the Court.

                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                            Executed on:      July 16, 2019
                                                                              s/Melissa Hanson
                                                                              Melissa Hanson
                                                                              U.S. Probation Officer



 THE COURT ORDERS
 [ ] No Action
 [ ] The Issuance of a Warrant
 [ ] The Issuance of a Summons
 [ X] The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
 [X ] Defendant to appear before the Judge assigned to the
      case.
 [ ] Defendant to appear before the Magistrate Judge.
 [ ] Other

                                                                              Signature of Judicial Officer

                                                                                               7/16/2019
                                                                              Date
